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GULF COAST CLAIMS FACILITY |

FREQUENTLY ASKED QUESTIONS

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. SECTION 1 - GENERAL INFORMATION ABOUT THE GULF COAST
CLAIMS FACILITY

1.1 What is the Gulf Coast Clains Facility?

The Gulf Coast Claims Facility (“GCCF”) is an independent claims facility for submission and
resolution of claims of Individwals and Businesses for costs and damages incurred ag a result of
the oil discharges due to the Deepwater Horizon incident on April 20, 2010 (“the Spill”). BP has
agreed to contribute funds to an escrow account to be used to pay claims submitted to the GCCF.
The GCCF is administered by Kenneth R. Feinberg (the “Claims Administrator”), a neutral fund
administrator responsible for all decisions relating to the administration and processing of clainus
by the GCCE. oO

12 ‘The Claims Administrator is being paid by BP; can T trust him to be fair?

The Claims Administrator is an independent, neutral find administrator. BP provides the

funding for the GCCE, including the Claims Administrator’s fees and expenses. The Claims
Administrator docs not report to BP and BP does not control his decisions in any way. .

1.3 Will BP decide my claim?

No. The GCCF, an independent, neutral administrator, will decide your claim. BP will have no
input on the decision.

1.4 already submitted a claim through BP, What should I do?

Tf you have previously filed a claim with BP your information will be transferred to the GCCF.
You must complete 2 GCCF Clats Form if you intend to apply to receive Emergency
Advance Payments or a Final Payment for your damages or losses through the GCCF.
You will be assigned a new GCCF Claimant Identification Number.

15 Can J still file s claim with BP?

No. As of August 23, 2010, all claims ovust be filed with the GCCF, The GCCP has replaced
the BP claims process. Individuals and Businesses should no Jonger present claims to BP.
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SECTION 2 — RESOURCES TO ASSIST CLAIMANTS

21 How del get help completing my Claim Foun?
If you need help to complete your Claim Form, you may do one of the following:
(1} Visit one of the GCCF Claims Site Offices. You may obtain a list of the Claims

Site Offices near you by visiting www.GulfCoastCleimsFacility.com or by
calling:

Toll Free Number: 1-200-916-4893. TTY: 1-866-682-1758.
(2) Call our Toll Free helpline. The Toll Free Number is listed above,
(3) Einail us your questions. You may email is at: info @gecf-claims.com.
2.2 English is not my first language. Axe there translation serryiees available?

You can call the Toll Free Number 1-800-916-4893 and ask for assistance in another language.
In addition, translators in the following languages ate available at these Claiua Site Offices:

(1) For Spanish:

Bayou LaBatre, AL
Biloxi, MS
Clearwater, FL

Cut OFF, LA
Gretna, LA.

Gulf Breeze, FL
Hammond, LA
Houma, LA

Lahiite, LA,

Mobile, AL

New [beria, LA
Orange Beach, AL
Pointe A La Hache, LA
Santa Rosa, FL,
Venice, LA

(2) For Vietnamese: .

Bayou LaBatre, AL
Bay St. Louis, MS:
Biloxi, MS
Gretna/Belle Chase, LA
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Harnmond, LA
Houma, LA
Mobile, AL.

New Orleans, LA
Pascagoula, MS
Venice, LA

(3) For Khuner (Official Language of Cambodia):
Venice, LA
24 Are Claim Forms available in other languages?
Yes. Claim Forms are available in Spanish, Vietaamese and Khmer To access these Claim
Forms, visitt www.GuifCoastClaimsFacility.com. For additional assistance call the Toll Free

Number 1-800-916-4893 (you will be prompted for multilingual telephone assistance). TTY: 1-
366-682-1758.

24 Del need to hire a lawyer to help me with my claim?

You do not have to hire a lawyer to submit a claim to the GCCF. You do have the right to be
represented by 2 lawyer of your choosing.

Lf you are represented by a lawyer, the GCCF will communicate with your lawyer rather than
directly with you.

2.5 Are the fees attorneys can charge limited by law or the GOCE?

Attomeys’ fees are got limited by the GCCF.’ If you want to know whether there apy are
restrictions on attormeys’ fees in your jurisdiction, contact a local bar association.

2.6 What should 1 do if [ have information about a potentially fraudulent clains?

You should call the Department of Justice National Center for Disaster Fraud hotline number:
877-623-3423.

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SECTION 3 ~- WHO MAY FILE A CLAIM

3.1 Whois an Eligible claimant?

Individuals and Businesses that have incurred damages as a result of the Spill may submit a

claim to the GCCE for Removal and Clean Up Costs, Damage to Real or Personal Property, Lost

Eamings or Profits, Loss of Subsistence Use of Natural Resources, or Physical Injury or Death.
3.2 Do Thave ta live in the Gulf region to make a claim?

No. Any Individual or Business may submit a claim to the GCCF for costs and damages

jacurred as a result of the oil discharges from the Spill. However, to receive payment from the

GCCF, your costs and damages must have been proximately caused by the Spill and must not be

tao remote in time or place from the Spill.

3.3 Dol waive my legal rights by Gling a claba?

No. You do not waive or release any legal rights by filing a claim for Emergency Advance

Payments with the GCCF. If you apply for Final Payment and the GCCF finds that you are

eligible for Final Payment then, you will be required to sign a Release to receive 3 Final Payment.

3.4 TfL bave already filed a lawsuit, can I file 0 clin with the GCCE?

Yes. You may file a claim with the GCCF regardicss of whether you have filed a lawsuit ot not.

4.5 If have filed a claim and received payments from BP, can J file a claim with the
GCCE?

Yes. However, any payments you previously received from BP will be subtracted from the
amount of any Final Payment from the GCCF for which you may be eligible.
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fo SECTION 4-— HOW TO FILE A CLAIM

4.1 How dol get the Claim Korm? Where do } ssbmit the Claim Form when complete?

You can obtam and submit a Claim F om ahd supporting documentation in any one of the
following ways:

(1) Through the Website: You can complete the Claim Form online by going to the
www.GulfCoastClaimsFacility.com website and selecting “Claun Form.” The
online instructions will tell you how to complete a Claim Form and how to submit
the form and the supporting documents online.

(2) By Visiting a GCCF Claims Site Office: You can complete a Claim Ferm and
submit documents in person at one of the GCCF Claims Site Offices, where a
Claims Evaluator will help you fill out the form. You may obtain a list of the
GCCF Claims Site Offices near you by visiting
www, GuliCosstClaimsFacility.com or by calling the GCCF toll free number, 1-
800-9 16-4893. TTY: 1-866-682-1758.

(3) By Telephone: Vou can get a Claim Form by calling the GCCF toll free number,
1-800-916-4893. TTY: 1-866-682-1758. Staff members are available to take
your call at this number 24 hours a day, seven days a week. You wil] be asked for
your name and address. The GCCF will mail you a Claim Form for you to fill out
and sign. Then you can submit your Claim Form and supporting documents to
one of these ways: OS

(4) By Regular Mail,

Gulf Coast Clainis Facility

Kenneth R. Feinberg, Administrator
P.O, Box 96358

Dublin, OH 43017-4958

(5) By Overnight, Certified or Repistered Mail:

Gulf Coast Claims Facility

Kemeth BR. Feinberg, Administrator
515] Blazer Pkyry.

Suite A

Dublin, OH 43017

(6) Bp Fax: You can fax your completed Claim Form and documents to the GCCF at
1-866-682-1772.
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(7) By Emails You can scan your completed Claim Form and documents and email
PDF files to the GCCF at info@gecf-claims.com.

4.2 When showld I file = Claim?

[f-you seek an Emergency Advance Payment, you should complete a Claim Forn a5 soon as you
have gathered the necessary documentation to support your claim. You may submit a claim
seeking an Emergency Advance Payment through November 23, 2010. You may submit a
claim for Final Payment through August 23, 2013.

43 Does it cost anything to file 9 claim?

No.

44 What types of documents do I need to submit with my Claio: Form?

You must provide documentation or evidence of the damage or injury for each type of damages
claimed. Exhibit A to the Claim Form provides a list of the documents that will support your

claim and specifies which documents are required for Emergency Advance Payments for each
type of damages claimed.

45 Can T submit photographs or videos in support of my claim?
Yes. You can submit photographs aud videos in support of your claim.
4.6  Whatif I anced more space to write on the Claim Farm?

you need additional space for one or more of the sections in the Claim Form, photocopy the

section before completing it and make as many copies as you ueed. You must attach these

copies to your Claim Foun. Tnclude your name, address and Claimant Identification Number on °
all pages you submit. [f you do not have a Claimant Identification Number, include your Sacial

Security Number or Employer Identification Number on all pages you submit.

4.7 Haw will I know that the GCCE has received my cisis?

You will receive a confirmation from the GCCF that will confirma your claim submission and tell
you the unique 9-digit Claimant Identification Nuoiber that is assigned to your claim. The
GCCF will ester for processing all submitted Claim Forms, regardless of the method of
submission, into the GCCF central database,

4.8 What happeus after I submit the Clan Form?
The GCCF will process your claim for the costs or damages as submitted on your Claim Fon.

You will receive written notice reparding any action taken on your claim, including approved
amqunits, deficiencies, requests fur additional documentation, and denied claims,
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43° How will T know that my Claim Form is complete?

\f you have made a claim for an Emergency Advance Payment, the GCCF will notify you by
email or written notice if yout claim is incomplete and will tell you what documentation is
needed te evaluate and complete the claim. If your claim for an Emergency Advance Payment ~
is complete and cligible you will receive sither a check or a wire transfer, depending on the
method of payment you selected when you submitted your Claim Form.

If you have made a claim for Final Payment, the GCCF will notify you when your Claim Form .
and documentation are sufficiently complete for processing.

4.10 Bow do J submit supplemental information for a claim I already filed?

Make sure you provide your Claimant Identification Number along with any supplemental,
information you submit. You may submit supplemental information in the following ways:

(1) Through the Website: You can submit supplemental information electronically
through the GCCF website, www. GuifCoastClaimsFacility.com by following the
instructions on this link: documents/onlinesubmission.

(2) By Visiting a GCCF Claims Site Office: You can submit supplemental
information to a Claims Evaluator at any of the GCCF Claims Site Offices. You
may obtain a fist of the GOCE Claims Site Offices near you by visiting the GCCF
website www.CiulfCoastClaimsFacility.com and following the links to contact

(3) By Regular Mail: You may submit supplemental information by U.S. Mail to the.
following address:

Gulf Coast Claims Facility

Kenneth R. Feinberg, Administrator
P.O. Box 9658

Dublin, GH 43017-4958

(4) By Overnight, Certified or Registered Mail: You may subtnit supplemental
information by. Overnight, Certified or Registered Mail to the following address:

Gulf Coast Claims Facility ~
Kenneth R. Feinberg, Administrator
5151 Blazer Pkwy.

Suite A

Dublin, OH 43017

(5) By Fex: You may fax supplemental information to 1-866-682-1772.
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(6) By Email: You may submit supplemental information in a PDF file to the GCCF
at info(@)zecf-claims.com.

411 Can someone else talk to the GCCF shout my claim?

Yes, as follows:

(1) If you are represented by a lawyer. Jf you are represented by a lawyer, the GCCF
will communicate with your lawyer rather than directly with you. You must
identify your lawyer on the Claim Form.

(2) If you have an Authorized Legal Representative, An Authorized Legal
Representative is a porson who is euthorized to act for a deceased person who was
affected by the Spill, or fur a person affected by the Spill who is unable to act for
himself or herself. The Authorized Logal Representative must submit to the
GCCE a copy of the paperwork that shows the authority to act on bebalf of a
person affected by the Spill, such as a power of attomey, an order appointing 4
guardian, letters testamentary or letters of administration for ani estate.

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SECTION 5— CLAIMS FOR EMERGENCY ADVANCE PAYMENT

5.1 Whatis an Emergeacy Advance Payment?

An Emergency Advance Payment is a payment available to Individuals and Businesses that are
experiencing, financial hardship resulting from damages incurred by the Spill. Individuals and
Businesses may request such a payment on the Claim Form. You must file for Emergency
Advance Payments on or before Novernber 23, 2010.

5.2 How willan Emergency Advance Payment affect my Final Payment?

Any Emergency Advance Payments you reccive will be deducted from any Final Payment you
receive,

5.3 Wow do | apply for an Emergency Advance Payment?

Fill out the Claim Form and select the Appropriate box requesting an Emergency Advance
Payment.

5.4 When can I apply for an Emergency Advance Payment?

You may apply for an Emengency Advance Payment through November 23, 2010. The GCCF
will process all claims for Emergency Advance Payments submitted on or before this deadline. .

55° Will the Emergency Advance Payment be oxy only payment?

An Emergency Advance Payment is an advance on the payment of your Final Claim. Once you
have collected the necessary documentation and you are ready to file a Final Claim, you should
complete the Final Claim Sections of the GCCF Claim Foun and you may file a Fioal Claim for
any damages or losses you have sustained.

5.6 Can J apply for multiple Emergency Advance Payments?

Yes. You may apply for an Emergency Advance Payment on a monthly basis or for six months
of losses. If you are submitting a claim for Emergency Advance Payrents for six months you
must establish that ‘you will incur loss for the six month period. Tf you apply for a one-month
Emergency Advance Payment and subsequently apply for an Emergency Advance Payment for
another month, you must submit a2 Supplemental Request Foom for cach additional month for
which you seek an Emergency Advance Payment, You may only seek payment for six months
of losses if yout claim is for Lost Eamings or Profits, Loss of Subsistence Use of Natural
Resources, or loss of income due to Physical Injury or Death.

5-7 When can] expect to receive an Emergency Advance Payment, if 1 am eligible?

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Each claim for an Emergency Advance Payment for all claims, except Complex Business claims,
will be evaluated preliminarily upon receipt of the completed Claim Form and complete
supporting documentation, Once determination is made that the Claimant is eligible for an
Emergency Advance Payment, the GCCF will issue payment within 48 hours of that
determination.

5.8 What is the Process for Review of Business Claims for Lost Earnings or Profits?

Business claims submitted for an Emergency Advance Payment will be evaluated preliminarily
within 7 days of receipt of the completed Claim Form and complete supporting documentation to
determine whether an Emergency Advance Payment is appropriate based on the information

submitted. A payment will be authorized within 24 hours of the determination that the Claimant
is eligible for an Emergency Advance Payment.

5.9 Can I still submit a claim for an Emergency Advance Payment if I do not have all of
the required proof or documentation?

You may submit a claim for an Emergency Advance Payment along with whatever
documentation you have to substantiate your claim. ff the GCCF needs - additional
documentation to evaluate your claim, you will receive a Notice Requesting Additional
Documentation. The amount of Emergency Advance Payment you will receive will be
determined based upon the documentation submitted to support the claim. However, if you have.
nat provided sufficient documentation for the GCCF to evaluate your clair, your claim will be
placed in inactive status and will not be processed further until you provide additional
documentation,

5.10 If i have already provided the documents during BF’s claim process, de I need to
submit them again?

No, unless the GCCF otherwise instructs you to resubmit the documents. The GCCF should
have all of your previous documentation on file.

5.11 Do { have to sign a Release ¢ er waiver of rights in order to receive an Emergency
Advance Payment?

No. You do not have to sign a Release for Emergency Advance Payments. However, if you are
seeking a Final Payment, you will bave to sign a Release and Waiver before the GCCF can issue
you any Final Payment.

512 fT apply for and receive an Emergency Advance Payment, do I give up ory legal
rights associated with the Spit? »

No. You do not waive any legal tights if you receive an Emergency Advance Payment.
However, the total Emergency Advance Payments you receive will he deducted from any Final
Payment you receive from the GCCE or, if you do not receive a Final Payment from the GCCF,
from any other payment you receive in another legal action associated with the Spill.

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5.13 What do | fave to de to accept the GCCE decision aud receive my Emergency
Advance Payment?

If you are secking an Emergency Advance Payment, you do not need to do anything to accept the
decision or receive the payment. If you are found eligible, the payment will be sent te you along
with your Notice of Emergency Advance Payment Determination.

514 What do I do if I do not agree with the amount the GCC¥ calculates as my
Emergency Advance Payment?

The GCCF will calculate the amount of as Emergency Advance Payment according to the
GCCF’s established rules and guidelines that apply uniformly to all claimants. The amount is an
estitnate of your projected logses and will not be changed or adjusted at this time. [If you
disagree with the outcome on your Emergency Advance Payment claim, you can submit a claim
for Final Payment and will have the opportunity to present all your arguments and any materials
that you feel support your position. All such issues will be considered when reviewing the
correct amount of any Final Payment for all losses.
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SECTION 6 — CLAIMS FOR FINAL PAYMENT

Frequently Asked Questions on the Final Payment Process will be posted on the GCCF website
at a later date,

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SECTION 7 —- COMPENSATION

7,1 How will the GCCF calculate my payment?

If your claim is for direct damages resulting trom the Spill, you will receive compensation for
the amount of damages, costs or lost carmings or profits thal you are able to prove with
acceptable documentation. If your claim is for indirect economic damages, the GCCF will
evaluate whether your claim is compensable and the appropriate amount of compensation based
on geographic proximity to the Spill, whether you are dependent on injured natural resources,
and the nature of your business, The GCCF will evaluate all claims based on the information
and documentation received and will provide you with notice of any deficiencies that you need
to cure to receive additional compensation.

7.2 Whatis Collateral Source Compensation and how will it affect my award?

Collateral Suurce Compensation includes amounts you have received from benefits for damages
igcurred gs a result of the Spill, such as uvemployment insurance, other government benefits or
private insurance. These amounts will be deducted from your Final Payment upon determination
of your Final Claim by the GCCF. The GOCF will not deduct Collateral Source Compensation
from Emergency Advance Payments. .

73 Are gifts or amounts received from charities considered Collateral Source
Compensation?

No. Churitable donations and the value of services or in-kind charitable gifts you receive such as
emergency housing, foad of clothing are net considered Collateral Source Compensation.

74 ‘Wilprier payaicnts made by BP be deducted from my Final Payment?

Yea, The amounts tecsived by a Clainant for Emergency Advance Payments will be deducted
from any Final Payment of a Final Claim.

7.5 Will there be any other deductions from my Final Payment?

Any other earnings or profits you received from another job or another source of earnings or
profits during the peried for which you are claiming lost carnings or profits will be deducted
from the Final Payment. In addition, Emergency Advance Payments you received will be
deducted from the Final Payment.

7.6 Will the awards be subject to Federal estate or Federal income tax?

The GCCF will report payments made annually to federal and state taxing authorilies, using a.
Form L099 or state form equivalent. The GCCK will send you a copy of that form, but cannot
give yau tax advice regarding any payment issued to you, You should consult your own tax

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advisor to determine the impact of any payment you receive from the GCCF on your individual
tax situation.

7.7 What paperwork do [ need to submit before I can receive payment?

The documents and proof that you need to submit to qualify for any payment depend on the type
” of loss oc damage you are claiming. See Exhibit A to the Claim Form for a list of required

documents for cach type of claim.

7.8 Cap I receive payment at the Claims Site Office?

No. Payments will be issued through one central payment distribution center and will be sent to
claimants by ovemight delivery.

73 Can [receive my payment through direct deposit?

Yes, You can elect to receive your payment as a wire transfer directly to your bank account.
7.10 In what ways can I elect te receive payment?

You san elect to receive payment by wire transfer or check,

7i1l Can payments be made through direct deposit to foreign banks?

No.

712 Can direet deposit payments be made to money market or brokerage accounts?
Yes.

7.13 IfI elect to receive my payment by cheek, ow will it be sent to me?

Your payment will be sept via overnight mail, either through. Federal Express or the United
States Postal Service’s Express Mail.

7.14 Where will [ be able to cash my check?

If you do not have your own bank account, the GCCF has made arrangements. with Witney
National Bank for check-cashing services. Whitney National Bank hes branches located
throughout the affected region. If you ara an Individual and not a Business, and you. de not have
your own bank account, you may go to any branch of Whitucy National Bank and cash up to
$5,000 of your payment in one day. (No fee will be charged by Whitney National Banlc for this
BELvice.) - .

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745 What should I do if] move?

If you move, you should contact us as S0OR 85 ‘possible to ensure that you reccive all
communication, and/or payments to which you are entitled. The quickest way to reach us is by
emailing us at info@szccf-claims.com. ‘You may also fax a letter to 1-866-082-1772, of mail a.
letter to:

GULF COAST CLAIMS FACILITY
B.C. BOX 9658
Dublin, OH 43017-49535

SECTION § - REMOVAL AND CLEAN UP COSTS

8.1 Will the GCCF provide compensation for costs associated with a Removal and
Clean Up claim? :

Yes, to qualifying claimants. This section describes the eligibility requirements and
documentary proof necessary to qualify. ‘

$8.2 ‘What are Removal and Clean Up Costs?

Removal and: Clean Up costs are costs that result from actions you took to prevent, minimize,
mitigate or clean up damages of anticipated damages from the Spill.

8.3 Who can make a claim for Removal and Clean Up Costs?

individuals or Businesses that have incurred costs to remove ail discharged by the Spill and/or
costs to prevent, minimize or mitigate oil pollution when there is a substantial threat of a
discharge of oil duc to the Spill may make a claim. To be paid for these costs, the actions taken
must have been approved by the Federal On-Scene Coordinator or are otherwise consistent with
the National Contingency Plan.

5.4 How will the GCCF calculate Removal aud Clean Up Costs?

The GOCE will compensate you for the reasonable costs associated with actions approved by the
Federal On-Scene Coordinator or are otherwise proven to be consistent with the National
Contingency Plan to remove oil discharged by the Spill and/or costs to prevent, minimize or
mitigate the effects of the Spill, To determine this amount, the GCCE will calculate the total cost
by reviewing contractor invoices, proofs of payment, contractor daily logs, disposal manifests,
affidavits ar witness statements, or other documentation you subruit. ‘

RS What do I need te prove te make an efigible claim for Removal and Clean Up Costs?

To be elipible to receive money for your Removal and Clean Up Costs, you need to prove:

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(1) That you incurred expenses to remove, prevent, minimize or mitigate the effects
of the Spill;

(2) That the Federal On-Scene Coordmator approved your removal and clean up
actions or the actions are otherwise proven to be consistent with the National
Contingency Pian; and

(3) That the removal or clean up costs you incurred were reasonable.

8.6 What kinds of decuments do I need & submit te make a claim for Removal and
Clean Up Costs?

Refer to Exhibit A to the Claim Form for a list of the documents that you must submit with each
claim for Removal and Clean Up Costs.

a7 What if the property I cleaned vets damaged again by the Spill? Can I make
another claun?

Yes, [f you wish to request a subsequent Emergency Advance Payment for the same claim, you
otust fill out and submit a Supplemental Request Form for Emergency Advance Payment. You
must provide your name and Claimant Identification Nunber, the amount you are claiming 2s a
subsequent Emergency Advance Payment, the amount you previously received, responses to
questions regarding your claun, ‘your signature, aud supporting documentation. You will necd to
provide documentation for your costs incurred.

8.8 My property was damaged and [ spent money on clean up. Cam J claim both
Removal aed Clean Up Costs and damages to Real or Personal Property?

Yes. You may claun both property damages and clean up costs.
Case 2:10-md-02179-CJB-DPC Document 44-4 Filed 08/19/10 Page 19 of 35

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SECTION 9 -- DAMAGE TO REAL OR PERSONAL PROPERTY

94 Willthe GCCF provide compensation for damage to Real or Personal Property?

Yes, to qualifying claimants. This section describes the eligibility requirements ‘and
documentary proof necessary to quality.

3.2 What is Real Property?

Real Property is land and buildings, houses, or abjects affixed or attached to the land.
9.3. What are damages to Real Property?

Damages include any physical injury or damage to the Real Property. .

9.4 What is Personal Property? .

Personal Property is equipment, boats, cars, furniture, or objects not affixed or attached to the
Jand and any property not cansidered real property.

95 What are damages to Personal Property?

Damages include any physical injury or damage to the Petsonal Property.

9.6 Whocan make a claim for damages to Real.or Personal Property?

Any Individual or Business that owns or rents Real or Personal Property physically damaged or
destroyed by the Spilt may submit a clainyto the GCCF for damages to the affected Real or
Personal Property, or for sconomic losees resulting from the destruction of the affected property.
If you arc an owner of a property that you lease to someone else, you must notify the lessee that
you are filing a claim. If you lease a property from someone else, you must notify the owner that
you are filing a claim.

9.7 What are the procedures for calculating damages to Real or Personal Property?

Damages to Real or Personal Property will be measqred by the cost of repair or replacement. of
"the property and/or the difference in the value of the property before and after the damage.

98 What do I need to prove to make an eligible claim for Real or Personal Property?
, Younsed to prove the following to make an eligible claim:

(1) Information or documentation showing an ownership or leasehold interest in the
property; .

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Case 2:10-md-02179-CJB-DPC Document 44-4 Filed 08/19/10 Page 20 of 35

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(2) Information or dacumentation showing the property was physically damaged or
destroyed as a proximate result of the Spill,

(3) Information or documentation showing the damages claimed were incurred as the
result of the physical damage to or desixuction of the property;

(4) Infonnation or documentation showing the cost of repair or peplacemeut of the
property or economic losses resulting from destruction of the property; and.

(5) Information or documentation showing the value of the property both before and
alter the damage.

9.9 What kinds of documents do I aced to submit to make 4 claim for damages to Real
or Personal Property?

Refer to Exhibit A to the Claim Form for a list of the documents that you must submit with each
claim for damages to Real or Personal Property,

9.10 Bol have te own the Real or Personal Property?

No, You can make a claim if you are an owner ora renter. However, the GOCF will not pay the
same clainn for damages or losses to Real or Personal Property to both an owner and ayenter. If
you are an owner of a property that you lease to someone else, you must notify the Jesses that
you are filing a claim. Jf you lease a property from, someone else, you must notify the owner that
you are filing a claim.

9.11 Who does the GCCE pay if both the owner and renter file the same claim?
The owner and lessee of the property cannot receive payments for the same darnage to the same
property. The owner will generally be allowed to pursue the clait, unless the lessee can

establish a contractual right to recover damages to the property occurring during the term of the
lease.

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i SECTION 10—-LOST PROFITS AND EARNING CAPACITY

10.1 ‘Will the GCCE provide compensation for Lost Profits and Rarning Capacity?

Yes, to qualifying claimants. This section describes the eligibility requirements and
documentary proof necessary to qualify.

10.2 What are Lost Earnings?

Lost Earnings ocout when you experience a loss of or reduction in your ability to eat wages or

income because of the Spill, If you were unable to engage in your normal job because of ihe

Spill or made less money than usual because of the Spill, you may have experienced Lost
Earns.

10.3 What are Lost Profits?

Lost Profits are toss of income or profita by a4 Business. If your Business experienced a
temporary or permanent loss or reduction in profits due to the Spill, you can make a clam. for
Lost Profits. Your Business may also bave experienced Lost Profits if it was forced to operate
under different conditions than those that existed prior to the Spill.

10.4 Who can make a claim for Lost Earnings or Profits?
An Individual or a Business may make a claim for Lost Earnings or Profits.

16.5 What kind of documents do I need to subrnit te make a claim for Lost Earnings or
’ Profits?

You must show that you suffered Lost Earnings or Profits as a result of injury, destruction or loss
of Real Property, Personal Property, or natural resources due to the Spill, but you need not be the
owner of the damaged property or natural resources. Refer to Exhibit A to the Claim Form for a
list of the required documents that must be submitted with each claim for Lost Earmings or
Profits.

10.6 What do f need to prove to make an eligible Lost Earnings or Profits Claim?
To prove an eligible claim you must: .
(1) Identify the specific Real Property, Personal Property or natural resources injured,
destroyed or lost due te the Spill, and

(2) Show that you lost earings or profits as a result of the injary, destruction ot joss
of the specific property or natural resources,

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Case 2:10-md-02179-CJB-DPC Document 44-4 Filed 08/19/10 Page 22 of 35

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10.7 Will state or federal taxes be taken out of payments for Lost Earnings or Profits?

The GCCF will report annually to federal and state taxing authorities, using a Form 1099 or state
form equivalent. The GCCF will send you a copy of that form, but cannot give you tax advice
regarding any payment issued to you. You should consult with your own tax advisor to
determine the impact of these payments on your individual tax situation.

108 i filed a claim for Lest Earnings or Profits with BP and received a check for a
jimited period, but F have continued to lose income since then, What about my
continued lose? De T need to file a new claim?

Yes, You will need to submit a new Claim Form ta the GCCF to raceive additional
campensation,

10.9 Tf ¥ found another job that paid sve less than my employment prior ta the Spill, can
Emake a claim? Do you need to know how much money [ made?

Yes. You can make a claim for Lost Eamings or Profits even if you have received some income
since the Spill. You will need to provide information about all other sources of income in the
Claim Form. Income received after the Spill will be considered in the calculation of total income
you lost because of the Spill, ,

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Case 2:10-md-02179-CJB-DPC Document 44-4 Filed 08/19/10 Page 23 of 35

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SECTION 11 — LOSS OF SUBSISTENCE USE OF NATURAL
RESOURCES

111 Will the GCCK provide compensation for Loss of Subsistence Use of Natural
Resources?

Yes, to qualifying claimants. This section, describes the cligibility requirements and
documentary proof necessary to quality.

11.2 What is Loss of Subsistence Use of a Natural Resource?

Loss of Subsistence Use ofa Natural Resource is when an Individual or Business can no longer
use a natural resource to obtain food, shelter, clothing, medicine or other miniroum necessities of
life because the natural rasource has been injured, destroyed or lost because of the Spill. For
example, an Individual who uses fish or other wildlife for food but can uo leuger do so because
of the Spill may file a Loss of Subsistence Use claim.

11.3 Whocan make a claim for Loas of Subsistence Use?

Any Individual or Business who uses natural resources for food, shelter, clothing, medicine, or
other minimum necessities of life and has lost the ability to use the natural resource because of
the Spill may make a claim for Loss of Subsistence Use.

11.4 What do [need to prove to make an eligible Loss af Subsistence Claim?
To prove an cligible claim you must:

(1) Identify the specific natural resource that bas been injured, destroyed or lost 85 a
result of the Spill for which compensation for loss of subsistence use is being
claimed;

(2) Describe the actual subsisterice use you made of the natural resource: Tor
example, the use of fish or wildlife for food; and

(3} Describe how and to what extent the subsistence use was affected by the damaged
ot destroyed nataral resource. For example, the fishing area was closed.

1.5 What kind of documents do I need to submit te make a claim for Loss of
Subsistence Use?

Refer to Exhibit A te the Claim Fonn fora list of the documents that you must submit with each
claim for Logs of Subsistence Use of a Natural Resource.

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| SECTION 12 — PAYSICAL INJURY OR DEATH

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12.1 Will the GCCF provide compensation for Physical Injury or Death?

Yes, t0 qualifying claimants. This section describes the eligibility requirements and documentary
proof necessary to qualify.

42.2 Who can make a claim for Physical Injury or Death?

Any injured Individual or the authorized representative of a legally incompetent or deceased
Individual.

12.3. What dol need to prove to make an eligible claim for Physical Injury or Death?
Ta make an cligible claim for Physical Injury or Death you must provide the following:

(1} Medical records reflecting diagnosis by a medical practitioner, oF death
certificate;

(2) Cause of the injury;

(3) Location where injury occurred,

(4) Bvidence of total or partial disability;

(5) Expenditures for medical care riot otherwise compensated: and

{6) If you are claiming loss of income, proof of lost yncome.

12.4 What is a Physical Injury?

A physical injury is an injury to the body proximately caused by the Spill or the explosion and
(dre associated with the Deepwater Honzon incident, or by the cleanup of the Spill. Av injury
that relates to smational or mental health is not a physical injury and is sot an eligible clara.

12.5 Whois considered 4 kicensed medical professional?

A licensed medical professional is a medical provider who is licensed by the state and authorized
by the state to prescribe medications,

12.6 What kinds of documents do I peed to submit to male a claim for Physical Injery or
Death?

Refer to Exhibit A to the Claim Form for a list of the documents that you must subcut with each
elaim far Physical Injury ot Death.

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12:7 What if my physical injury is ongoing?

: sy A t for
If your physical injury is gngomg, you may apply for a emer e Sea ous physical
dical expenses or loss of income you have ucuitee. 1c f fects of ‘
inury are unown and/or resolved, you can choose to apply for and receive Final Payment for
your claim.

12.8 Cant apply for imergency Advance Payment for my Physical Injury claim?

yes. The Emergency Advance Payment will be limited to any medical expenses ot any loss of
income resulting from your physical njury-
Case 2:10-md-02179-CJB-DPC Document 44-4 Filed 08/19/10 Page 26 of 35

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA

MAGISTRATE JUDGE SHUSHAN

IN RE; DEEPWATER HORIZON *
- * CASE NO.: 2:16-cv-01156-CJB-SS
* .
& .
_* DISTRICT JUDGE BARBIER
Applies to 2:10-ev-1926 *
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*

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AFFIDAVIT OF JEFFREY BERNIARD

1, My name is Jeffrey Berniard, and ] am an attorney representing several clients in
_ their claims arising out of damages sustained as a. consequence of the oil spill following the
explosion of the Deepwater Horizon, '
2, In June 2010, I submitted a claim on behalf of my client Cunningham Healthcare
Consultants (“Cunningham”).

3. Over the course of filing claims on behalf of my clients, I have been informed that at
least two different adjusters in the Houma claims office are handling all claims filed on
behalf of my clients, and most recently I have been informed that all claims filed on behalf
of my clients are being handled by an adjuster in the Hammond claims office.

4, Nevertheless, on Monday, July 19, 2010, I understood that claims on behalf of my
clients were still being handled out of the Houma claims office and, so, I forward
documents substantiating Cunningham’s claim to the attention of that office by both
facsimile and certified mail.

5. Shortly after that, I received the letter attached hereto as Exhibit 1 indicating that
Cunningham's claim is not denied but that more information is needed ‘to proceed with
that claim. “ '

6, After receipt of that letter, Cunningham contacted the claims office itself and was
informed that no documentation substantiating the claim had been received.

7. On July 23, 2010, I contacted the claims office and was informed that all the
documentation I forwarded had in fact been received but that the recipient failed to
indicate as much in Cunningham’s electronic file.

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$. During that same call. ] was informed that C unningham's claim kad been
transierred to the Hammond claims office and that an adjuster in that office is now
handling the claim.
9. That same day, I called the Hammond office and was told the adjuster with whom]
had spoken is merely the adjuster charged with notifying claimants that their claims have

_ been transferred to the Hammond office, thai Cunningham’s elaim has been transferred to
the Legal Department. and that [ would receive a cail from the Legal Department that day,

10. Later that same day, | was contacted by an adjuster with regard to Cunningham's
claim and was informed that Cunningham’s claim is of a type that is nat being paid.

tl. | requested a formal denial of Cunninghain’s claim and was informed that no claims
are being denied at this time, just not paid.

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Jeffrey

Sworn to befereme th! G A of Juby, 2010.
wy “ ~ ett .

_Samimission Is for tite
Case 2:10-md-02179-CJB-DPC Document 44-4 Filed 08/19/10 Page 29 of 35

Dp

Tuesday, July 13, 2010

NULL Cunningham Healthcare Consulta
643 Magazine St Suite 402
New Orleans, LA 7030

Clam No. 6866-124-168334

FOR HELP APTER YOU FILE A CLAIM OR
TO CHECK ON THE STATUS OP YOUR CLAIM,
PLEASE CALL 1-800-573-8249

Dear Siror Madam:

BP is working dilieen:dy to evaluate claims based on the supporting documentation
provided by claimants related to the Deepwater Horizon Incident. We have been unable
to make a determination on yout claim because you have provided insufficient
documentation to support the claim. This letter is NOT a denial of your claim, but is
simply an indication that the company needs the appropriate information to properly
evaluate it,

BP has pledged to keep the substantiation recpirements to the minimum necessary to
reasonably evaluate a claim, but the company must verify the amount and
compensabilicy of your claim before it can reimburse you for any losses. For farther
information on the kinds of information needed to process a claim, please visit,
anew, becom claims.

BP has assigned an adjuster to your claim. Please contact your adjuster co determine the
additional information required to evaluate your claim. If you do not have the name and
phone number for the adjuster assigned to you claim, please call 1-800-573-8249,

If you ne longer believe thar you have a claim for a compensable loss, please inform
your adjuster or call the claims center at 1-600-373-8249 ro norfy BP so thar the
company can close your claim file,

Sincerely,

BP
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Tuesday, July 13, 2010

NULL Cunningham Healthcare Consulta
643 Magazine Se Suice 402
New Orleans, LA 70130

Claim No, 6866-124-168334

SI NECESITA AYUDA DESPUES DE PRESENTAR UN RECLAMO O SI
DESEA VERIFICAR EL ESTADO DE 8U RECLAMO,
LLAME AL 1-800-573-8249.

Testimado/a Sr./Sras:

BP trabaja diligentemente para evaluar los reclamos sobre la base de la documentacién
de respalda provista por fos reclamantes en relacidn con el incidente de Deepwater
Horizon. No hemos podido tomar una decisidn con respecto a su reclame ya que no ha
presentado documentacién suficiente para respaldarlo. Esta carta NO significa el
rechazo de su reclamo, sino que simplemente indica que la empresa necesita la
informacidén aproplada para evaluarto de forma adecuada,

BP se ha comprometido a solicitar documentacién de respaldo en la menor cantidad de
casos posible pata evalear de manera razonable los reclamos, petro la empresa debe
verificar el monte y la necesided de compensacidn de su reclamo antes de reembolsarie
cualquier pérdida, Si desea obtener mas informacién sobre los tipos de informacién
necesarios para procesar un reclame, visite www. bp.com/ claims.

BP ha asignado su reclamo a un ajustador. Comuniquese con su ajustador para
determinar la informacion adicional necesaria para evaluar su reclamo, Si no tiene el
nombre y el ndémero de teléfono del ajustador asignado a su reclamo, ame al 1-800-573-
8249.

SL piensa que ya no tiene un reclamo por una pérdida compensable, informe a su
ome

ajustador © llame al centeo de reclamos al 1-800-573-8249 y notifique a BP para que la
empresa pueda cerrar el expediente de su reclamo.

Arentamente,

BP
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Sé H6 So Boi Thuong | i,

SAU KHI NOP BON BOL THUONG NEU CAN SU GLUP DO
HAY MUON KIEM SOAT TINH TRANG CUA DON
XIN VUI LONG GOLSOG 1-800-573-8249

Kink thira Quy vi:

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latimes.com/news/nationworld/nation/la-na-oil-spill-claims-201008 19,0,5676447 story

latimes.com

Mediator takes reins on gulf oil spill claims

"No more beating up on BP,’ Kenneth Feinberg tells claimants. Next week, he will take
over from the oil giant the $20-billion fund for spill compensation claims. . .

By Kim Murphy, Los Angeles Times
August 19, 2010:
Reporting from Houma, La.

Wayde Bonvillain, who makes his living selling advertisement
Louisiana's tender softshell crabs, said Wednesday that
his problem is he doesn't know yet how broke he is.
How can he know, when crabs make their home
thousands of feet down on the ocean floor, and now
people are saying there's spilled oil on the bottom of the
sea?

BP has offered him $143,000 for six years of lost
earnings, he told Kenneth R. Feinberg, the mediator who
next week will take over from the British oil giant a $20
billion fund for oil spill compensation claims. But,
Bonvillain continued, who says the crabs are going to be
back after six years? What if it's more like 100?

"That's $1.43 a day,” he said. "We're finished. We're
dead.”

Feinberg, who oversaw the compensation fund for victims of the Sept. 11 terrorist attacks and was
appointed by President Obama to handle the gulf oil spill disaster claims fund, pledged a new,
responsive regime that would speed up review of applications from fishermen, tourism businesses, —
restaurant owners and other victims and pay out emergency relief for those who can document losses.

"No more beating up on BP. BP leaves the scene," Feinberg said at a meeting here with hundreds of spill
claimants. "If you file an eligible claim and document it, we guarantee to process personal claims in 48
hours.... If you're a business and you've been waiting for months in a black hole with BP, you will get
an answer within seven days."

Feinberg's pledge to fix claim delays, among the most festering issues of BP's disaster response, came as
Coast Guard officials said engineers must do more testing before a decision could be made on how and
when to finally shut down the well that released an estimated 4.9 million barrels of oil into the Gulf of
Mexico.

Thad Allen, a retired Coast Guard admiral and the federal spill response chief, said crews planned to test

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the pressure at the top of the well before deciding when to finally connect the relief weil and
permanently seal the wellhead.

"This will be one of the final vital signs we'll need in order to make a determination on how to go
forward," Allen told reporters. He did not give a new timeline for the final shutdown. Days before he
had said it was likely to be done by the end of the month.

In Houma and Kenner, La., outside New Orleans, Feinberg's meetings set the stage for BP to end its
oversight of damage claims and hand over responsibility to the new Gulf Coast Claims Facility, which
will begin accepting new claims Monday at offices across the region.

BP has paid $368 million to individuals and businesses hurt by the oil spill, but faced widespread
criticism over lost paperwork, tardy payments, misplaced checks, exhausting demands for paperwork
and parades of adjustors who don't talk to one another.

"I must say BP in one sense did a pretty good job. They paid out over $300 million in claims, and they
paid that separate from the $20 billion. I mean I give BP some credit," Feinberg said. "On the other
hand, we can do better in terms of accelerating consideration of your claim, getting payments out faster,
more generous ... in a systematic way. You are not going to be pushed around by six, seven, eight
different adjustors.”

Those pledges, though, were largely for emergency relief claims — quick cash payouts intended to keep
people from having homes foreclosed or businesses shut down.

Harder to determine will be cases like Bonvillain's, in which the claims fund offers, in addition to the
emergency relief checks, permanent settlements for long-term damages. But those who accept the
‘relatively speedy payouts must pledge not to sue later.

How, victims like Bonvillain demanded, can those payments be measured now, when the full extent of
damage to the gulf is still unknown?

"They need money now. People are losing homes, they're losing businesses. But they can't be in a
position where they have to choose between money now and giving up claims for future damages that
may not show up until the future," said C. Gibson Vance, president of the national trial lawyers group
the American Assn. for Justice.

Feinberg said it was not as hard as it sounded. One simply has to do the math.

"I'm in the claims business. I'm not in the business of getting oil out of the seabed," he told Bonvillain. "I
will tell you this: If you file a claim and tell me you're not going to be able to get shrimp out of there for
100 years because there's oil on the seabed, and you've got experts to document that claim, then you will
be eligible to claim the amount you would have made.... People in this room are overwhelmingly
eligible."

Feinberg said he would be "extremely lenient" in documentation requirements. "I don't need reams and

reams of stuff. But you've got to document your claim. 'Mr. Feinberg, I’m losing $5,000 a month, I can't
fish.’ Well, document it. 'But it's an all-cash business.’ Fine, there are lots of cash businesses. Document
it. You have a tax return? Do you have a profit-and-loss statement?"

There were lingering suspicions about Feinberg himself. Shrimp boat owner Ha Nguyen wanted to know
how much BP was paying him to take on this job.
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"You say you're independent... But I feel that you have a serious conflict of interest, and the Bible
states that one man should not serve two masters," she said.

"Let me ask you a question," Feinberg replied. "How else would you do this? You can't ask the people in
this room to pay a fee to participate.... The responsible party, the cause of this, is BP.... I think BP can
honor my bills, with all due respect." oo

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Times staff writer Richard Fausset in Atlanta contributed to this report.

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